 County of Lincoln, NM


                                       1:19-op-45513
Amerisourcebergen Drug Corp., et al.




        JAMES C. PETERSON




         10/15/2019
AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

            County of Lincoln New Mexico                               )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45513
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint, two
 copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

       I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
 and the venue of the action, but that I waive any objections to the absence of a summons or of service.

       I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
 from 09/16/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
 default judgement will be entered against me or the entity I represent.

            10/04/2019                                                                                              /s/ Sean Morris
Date:
                                                                                                   Signature of the attorney or unrepresented party

        Par Pharmaceutical Companies, Inc.                                                                            Sean Morris
      Printed name of party waiving service of summons                                                                  Printed Name
                                                                                                       Arnold & Porter Kaye Scholer LLP
                                                                                                       777 S. Figueroa Street, 44th Floor
                                                                                                           Los Angeles, CA 90017
                                                                                                                           Address




                                                                                                        sean.morris@arnoldporter.com
                                                                                                                       E-mail Address

                                                                                                                     213-243-4000
                                                                                                                     Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.
       If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
 summons or of service.
       If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

            County of Lincoln New Mexico                               )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45513
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 09/16/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

             10/04/2019                                                                                             /s/ Sean Morris
Date:
                                                                                                    Signature of the attorney or unrepresented party

                Par Pharmaceutical, Inc.                                                                               Sean Morris
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                        Arnold & Porter Kaye Scholer LLP
                                                                                                        777 S. Figueroa Street, 44th Floor
                                                                                                            Los Angeles, CA 90017
                                                                                                                            Address




                                                                                                          sean.morris@arnoldporter.com
                                                                                                                        E-mail Address

                                                                                                                      213-243-4000
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.
      If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.
      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
 a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         NorthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio
    Board of County Commissioners of the County of
                 Lincoln, New Mexico
                                                                             )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 1:19-op-45513
        AmerisourceBergen Drug Corporation, et al.                           )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: James C. Peterson
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
          jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

          7KH&RXUW VPRUDWRULXPRQDOOILOLQJVLQFOXGHVDPRUDWRULXPRQWKHILOLQJRIDQVZHUVRUPRWLRQVXQGHU5XOH
           'HIHQGDQWVZLOOQRWDQVZHURUPRYHXQGHU5XOHXQOHVVVRRUGHUHGE\WKH&RXUW7KHIDLOXUHWRfile an
           DQVZHURUPRWLRQXQGHU5XOHZLOOQRWEHJURXQGVIRUDGHIDXOWMXGJPHQW

Date:          10/21/2019
                                                                                            Signature of the attorney or unrepresented party

                          Sandoz Inc.                                                                       Lori G. Cohen
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                   Greenberg Traurig, LLP
                                                                                              3333 Piedmont Rd. NE, Suite 2500
                                                                                                      Atlanta, GA 30305
                                                                                                                 Address

                                                                                                         cohenl@gtlaw.com
                                                                                                             E-mail address

                                                                                                           (678) 553-2100
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons




                                                                       for the
                                                              Northern District of Ohio

            County of Lincoln New Mexico                               )
                           Plaintiff
                                                                       )
                               v.
                                                                       )    Civil Action No. 1:19-op-45513
       Amerisourcebergen Drug Corp., et al.                            )
                           Defendant                                   )
                                             WAIVER OF THE SERVICE OF SUMMONS
To:                          James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

         I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60 days
from 09/16/19, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do so, a
default judgement will be entered against me or the entity I represent.

Date:       10/16/2019
                                                                                                    Signature of the attorney or unrepresented party

                        SpecGX LLC                                                                               Andrew O. O'Connor
      Printed name of party waiving service of summons                                                                    Printed Name
                                                                                                               Ropes & Gray LLP
                                                                                                     Prudential Towner 800 Boylston Street
                                                                                                          Boston, MA 617-951-7000
                                                                                                                            Address

                                                                                                   Andrew.O'Connor@ropesgray.com
                                                                                                                        E-mail Address

                                                                                                                      617-951-7000
                                                                                                                       Telephone number

                                        Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

    If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file
a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
 AO 399 (01/09) Waiver of the Service of Summons


                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Ohio

Board of County Commissioners of the County of Lincoln NM
                            ·----------~·---------~                           )
                               Plaintiff                                      )
                                  v.                                          )    Civil Action No. MDL 2804; 1:17-md-02804
 Amerisourcebergen Drup Corp., et al.                                         )
                                                                              )    CA No.: 1:19-op-45513
                              Defendant


                                              WAIVER OF THE SERVICE OF SUMMONS

 To:          JAMES C. PETERSON
              (Name of the plaintiff's attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

       The Court's moratorium ou all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.

 Date: -9/25/2019
        --------
                                                                                                       s/ Christopher Essig
                                                                                             Signature of the attorney or unrepresented party
Hikma Pharmaceuticals USA Inc.,
JZkla.West-Ward Pharmaceuticals Corp                                                                       Christopher Essig
       Printed name ofparty waiving service ofsummons                                                           Printed name
                                                                                                     WINSTON & STRAWN LLP
                                                                                                          35 W. Wacker Drive
                                                                                                           Chicago, IL 60601
                                                                                                                  Address

                                                                                                        CEssig@winston.com
                                                                                                               E-mail address

                                                                                                            (312) 558-5600
                                                                                                             Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
 and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
 the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
 no jurisdiction over this matter or over the defendant or the defendant's property.

         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
 a summons or of service.

            If you waive service, then you must, within the time specified on the waiver form, serve an ans\ver or a motion under Rule 12 on the plaintiff
 and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
